         Case 1:13-cv-00297-WSD Document 231-1 Filed 12/04/15 Page 1 of 1


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA

                                                        )
______________________________,
Robyn Christiansen                                      )
                                 Plaintiff(s)           )
                                                        )      Case No. 1:13-CV-297-WSD
                   V.                                   )
                                                        )
______________________________,
Wright Medical Technology Incorporated, et al.          )
                               Defendant(s)             )


                         NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
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                    ______________
                    12/4/2015                    __________________________________
                                                 Nicholas Marrone
                           Date                                Court Reporter


                        VERIFICATION OF FINANCIAL ARRANGEMENTS

         Proceeding Type:            ______________________________________________
                                     Jury Trial
                                     ______________________________________________
         Proceeding Date:            ______________________________________________
                                     November 9, 10, 12, 13, 16, 17, 18, 19, 20, 23 and 24
                                     ______________________________________________
         Volume Number:              ______________________________________________
                                     11 Volumes
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made with the following individual(s): Dana Ash, Matthew Taylor, Scott Kramer, Sean Burke,
Michael McGlamry, Ray Boucher, Helen Zukin, Kimberly Johnson

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                    ______________
                    12/4/2015                    __________________________________
                                                 Nicholas Marrone

                           Date                                 Court Reporter
